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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                          March 08, 2024
                           FOR THE SOUTHERN DISTRICT OF TEXAS                         Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

 In Re:                                             §   Chapter 7
                                                    §
 HOUSTON REAL ESTATE PROPERTIES,                    §   Case No. 22-32998
 LLC,                                               §
                                                    §
           Debtor.                                  §
                                                    §
                                                    §
 JOHN QUINLAN, et al.,                              §
                                                    §
           Plaintiffs,                              §
                                                    §   Adversary No. 4:23-ap-03141
 v.                                                 §
                                                    §
 HOUSTON REAL ESTATE PROPERTIES,                    §
 LLC, et al.,                                       §
                                                    §
           Defendants.                              §


                                          AGREED ORDER

          The Plaintiffs initiated this adversary proceeding to pursue claims against several

Defendants, including Magnolia BridgeCo, LLC and Cypress BridgeCo, LLC (together,

“BridgeCo”).

          On August 30, 2023, Plaintiffs filed their First Supplemental Complaint adding, for the

first time, BridgeCo as a Defendant. That Supplemental Complaint also sought to enjoin BridgeCo

from foreclosing on several properties, which at the time was scheduled to occur on September 5,

2023. Adv. Dkt. No. 26. Those properties are as follows:

                          a.   2503 S. Shepherd Dr., Houston, Texas 77019
                          b.   2421 S. Shepherd Dr., Houston, Texas 77019
                          c.   2502 Huldy St., Houston, Texas 77019
                          d.   2424 Huldy St., Houston, Texas 77019
                          e.   9201 Memorial Drive, Houston, Texas 77024
                          f.   2727 Kirby 26L, Houston, Texas 77098
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        (together, the “BridgeCo Properties”).

        The Adversary Plaintiffs thus sought a TRO to prevent the sale of the Properties, which

this Court granted. (Adv. Dkt. No. 37). On September 12, 2023, the Court entered its Agreed Order

(Adv. Dkt. No. 53) giving the Chapter 7 Trustee the right to sell the Properties.

        The next day, on August 31, 2023, other Defendants also counterclaims in this adversary

proceeding. Adv. Dkt. No. 33. BridgeCo is not a counter-defendant.

        After the entry of the Temporary Restraining Order (Adv. Dkt. No. 37) enjoining the sale

of the Properties, the Court dismissed the Plaintiffs’ causes of action against the Defendants for

lack of standing but reserved the Trustee’s ability to assume the claims for itself. Adv. Dkt. No.

101. Then, upon the Trustee’s Emergency Motion to Abate Adversary Proceeding (Adv. Dkt. No.

116) filed November 9, 2023, the Court abated the case to allow the Chapter 7 Trustee time to

market the claims the same day.

        On January 5, 2024, the Court entered its Order Approving Sale of Litigation Claims Free

and Clear of Liens, Claims and Encumbrances (Lead Dkt. No. 182), selling the claims back to the

Plaintiffs.

        The Chapter 7 Trustee now wishes to dispense with the Properties, and no longer desires

to market or sell them. The Adversary Plaintiffs and BridgeCo agree, subject to the entry of the

terms below.

        Thus, upon the Agreement of the Parties and in finding that this Agreement is in best

interest of all Parties, the Court hereby ORDERS the following:

        IT IS HEREBY ORDERED that the Court’s Order Granting Temporary Restraining

Order, at Adv. Dkt. No. 37 is VACATED.

        IT IS FURTHER ORDERED that the Agreed Order entered at Adv. Dkt. No. 53 is also



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VACATED. The Chapter 7 Trustee is no longer directed to, nor permitted to, sell or market the

Properties.

       IT IS FURTHER ORDERED that the Order Granting Application for Authority to Retain

a real estate broker entered at Lead Dkt. No. 163 is VACATED. Ruthie Porterfield of Martha

Turner Sotheby’s International Realty is no longer employed as broker by the Debtor’s estate or

by the Trustee in any other capacity.

       Further, the Court finds that the above-referenced Properties are not subject to the

automatic stay pursuant to 11 U.S.C. § 362 et seq., and the automatic stay is therefore ABSENT

AND NOT IN EFFECT as to the Properties.

       IT IS FUTHER ORDERED that Magnolia BridgeCo, LLC, Cypress BridgeCo, LLC, or

any of their affiliates or interested persons may pursue foreclosure, or any other remedy available

to them against the above-referenced Properties, without the need for further Court order.

       IT IS FUTHER ORDERED that the Court retains jurisdiction over any disputes related

to the Properties and jurisdiction to enforce this Order as needed, as the Parties and Properties

remain part of the adversary proceeding. This specifically includes jurisdiction over any dispute

regarding foreclosure on the Properties, injunctions or temporary relief sought to prevent or stop

foreclosure, and forcible detainer matters relating to the Properties.



       SIGNED: ________________


                                                              ______________________________
                     March
                      April08,
                            04, 2024
                                2018
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge

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Approved as to Form



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